Case 2:20-cv-00406-SSS-JC Document 30-1 Filed 03/24/20 Page 1 of 11 Page ID #:323


  1 NICOLAS A. JAMPOL (State Bar No. 244867)
     nicolasjampol@dwt.com
  2 DIANA PALACIOS (State Bar No. 290923)
     dianapalacios@dwt.com
  3 CYDNEY SWOFFORD FREEMAN (State Bar No. 315766)
     cydneyfreeman@dwt.com
  4 CAMILA PEDRAZA (State Bar No. 329984)
     camilapedraza@dwt.com
  5 DAVIS WRIGHT TREMAINE LLP
    865 South Figueroa Street, 24th Floor
  6 Los Angeles, California 90017-2566
    Telephone: (213) 633-6800
  7 Fax: (213) 633-6899
  8 Attorneys for Defendants
    BLINDING EDGE PICTURES, INC.; UNCLE
  9 GEORGE PRODUCTIONS, LLC; APPLE INC.;
    ESCAPE ARTISTS, INC. (erroneously sued as
 10 ESCAPE ARTISTS LLC); DOLPHIN BLACK
    PRODUCTIONS; M. NIGHT SHYAMALAN;
 11 TONY BASGALLOP; ASHWIN RAJAN;
    JASON BLUMENTHAL; TODD BLACK;
 12 STEVE TISCH
 13                                      UNITED STATES DISTRICT COURT
 14                                CENTRAL DISTRICT OF CALIFORNIA
 15
 16 FRANCESCA GREGORINI,                                Case No. 2:20-cv-00406-JFW-JC
 17                                      Plaintiff,     DEFENDANTS’ REQUEST FOR
                                                        JUDICIAL NOTICE
 18            vs.
 19 APPLE INC., a California corporation;
    M. NIGHT SHYAMALAN, an
 20 individual, BLINDING EDGE
    PICTURES, INC., a Pennsylvania
 21 corporation; UNCLE GEORGE
    PRODUCTIONS, a Pennsylvania
 22 corporate; ESCAPE ARTISTS LLC, a
    California limited liability company;
 23 DOLPHIN BLACK PRODUCTIONS, a
    California corporation; TONY
 24 BASGALLOP, an individual; ASHWIN
    RAJAN, an individual; JASON
 25 BLUMENTHAL, an individual; TODD
    BLACK, an individual; STEVE TISCH,
 26 an individual; and DOES 1-10, inclusive,
 27                                      Defendants.
 28

      DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE
      4838-2091-9479v.1 0113237-000003
Case 2:20-cv-00406-SSS-JC Document 30-1 Filed 03/24/20 Page 2 of 11 Page ID #:324


  1            Pursuant to Rule 201 of the Federal Rules of Evidence, defendants Blinding
  2 Edge Pictures, Inc., Uncle George Productions, LLC, Apple Inc., Escape Artists,
  3 Inc. (erroneously sued as Escape Artists LLC), Dolphin Black Productions, M.
  4 Night Shyamalan, Tony Basgallop, Ashwin Rajan, Jason Blumenthal, Todd Black,
  5 and Steve Tisch (collectively, “Defendants”) respectfully request that this Court
  6 take judicial notice of the first season of Servant (attached as Exhibits 1-10 to the
  7 concurrently filed Notice of Lodging and authenticated in the Declaration of
  8 Cydney Swofford Freeman) and the Servant trailer, as well as certain facts and
  9 generic elements common to expressive works.
 10              THE WORKS AT ISSUE ARE INCORPORATED INTO THE FIRST
 11                             AMENDED COMPLAINT BY REFERENCE
 12            Courts may consider materials referenced in a complaint on a motion to
 13 dismiss, even if the plaintiff did not attach them to the complaint. See, e.g., Brown
 14 v. Electronic Arts, 724 F.3d 1235, 1248 n.7 (9th Cir. 2013) (noting that the district
 15 court properly considered defendant’s video game “as part of the complaint itself
 16 through the ‘incorporation by reference’ doctrine,” and that “[w]e do the same”);
 17 Silas v. Home Box Office, 201 F. Supp. 3d 1158, 1168-69 (C.D. Cal. 2016)
 18 (granting motion to dismiss after examining episodes of television series that were
 19 referenced in, but not attached to, the complaint), aff’d, 713 Fed. Appx. 626 (9th
 20 Cir. 2018); Gadh v. Speigel, 2014 WL 1778950, at *3 n.2 (C.D. Cal. Apr. 2, 2014)
 21 (Walter, J.) (granting motion to dismiss after reviewing and taking judicial notice of
 22 works at issue referenced in, but not attached to, plaintiff’s complaint); Zella v.
 23 E.W. Scripps, 529 F. Supp. 2d 1124, 1128 (C.D. Cal. 2007) (considering episodes of
 24 television program referred to in complaint).
 25            Plaintiff’s FAC refers to, and is based upon, Defendants’ television series
 26 Servant. E.g., FAC ¶¶ 1, 14, 17, 60-61, 63-82. For example, Paragraph 1 of the
 27 FAC alleges that Apple heavily promoted Servant as one of eleven “shows”
 28 launching its streaming service, and Paragraph 14 alleges that “Servant is meant to
                                             1                       DAVIS WRIGHT TREMAINE LLP
                                                                             865 S. FIGUEROA ST, SUITE 2400
      DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE                             LOS ANGELES, CALIFORNIA 90017-2566
                                                                                       (213) 633-6800
      4838-2091-9479v.1 0113237-000003                                               Fax: (213) 633-6899
Case 2:20-cv-00406-SSS-JC Document 30-1 Filed 03/24/20 Page 3 of 11 Page ID #:325


  1 showcase Apple’s new streaming service.” The FAC also specifically relies on an
  2 article discussing the entire season of Servant and notes that defendant Tony
  3 Basgallop wrote “all 10 episodes.” Id. ¶ 17. Plaintiff expressly relies on this fact in
  4 her allegation that Servant missed the female perspective. Id.
  5            Plaintiff purports to restrict her infringement allegations to Servant’s first
  6 three episodes (FAC ¶ 2 n.1), and contends that Servant’s latter seven episodes
  7 merely add “new vignettes, characters, or sub-plots” (id. ¶ 13). This is not true. All
  8 ten episodes reveal crucial information about the characters and events from the first
  9 three episodes, like how Jericho died and why Leanne applied to be the Turners’
 10 nanny. Moreover, some of the FAC’s own alleged similarities extend beyond the
 11 first three episodes. For example, Paragraph 78 emphasizes that “the nanny in
 12 Servant is revealed to have targeted the mother,” which is first suggested at the end
 13 of Episode 4, and not explained until the season finale (Episode 10). Ex. 4 at 30:50;
 14 Ex. 10 at 12:20. Additionally, Plaintiff alleges that “Servant includes a number of
 15 scenes of family and extended-family dinners” (FAC ¶ 68) (emphasis added), and
 16 that “scenes of family dinners are often used to juxtapose intimacy and tension” (id.
 17 ¶ 80) (emphasis added), but only one of Servant’s extended-family dinners takes
 18 place in the first three episodes, while the rest occur later in the season. Exs. 6-7.
 19 Plaintiff cannot rely on allegations about the entire first season of Servant and then
 20 attempt to restrict the Court’s ability to consider that same content. Accordingly,
 21 Servant’s first season is incorporated by reference into the FAC and may be
 22 considered by the Court.
 23            For these same reasons, the Court may take judicial notice of the official
 24 Servant trailer, released on YouTube by Apple TV+ and available at
 25 https://www.youtube.com/watch?v=N1cOR0sRRIw. Plaintiff’s FAC begins by
 26 alleging how “Apple TV+ and M. Night Shyamalan are heavily promoting their
 27 original series Servant” (FAC ¶ 1), and alleges that Defendants “distributed and
 28
                                                   2                         DAVIS WRIGHT TREMAINE LLP
                                                                               865 S. FIGUEROA ST, SUITE 2400
      DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE                               LOS ANGELES, CALIFORNIA 90017-2566
                                                                                         (213) 633-6800
      4838-2091-9479v.1 0113237-000003                                                 Fax: (213) 633-6899
Case 2:20-cv-00406-SSS-JC Document 30-1 Filed 03/24/20 Page 4 of 11 Page ID #:326


  1 promoted” Servant in California (id. ¶ 25). Accordingly, judicial notice of the
  2 Servant trailer alongside the ten episodes in its first season is proper.
  3            Plaintiff’s FAC also frequently refers to her own film, The Truth About
  4 Emanuel (“Emanuel”). Plaintiff provided a copy of Emanuel to the Court, Dkt. 13,
  5 and thus the Court may consider Emanuel in connection with Defendants’ motion to
  6 dismiss. Additionally, Emanuel is available in its entirety (for free) through
  7 YouTube Movies at https://www.youtube.com/watch?v=-I5jbIE1GBE. To the
  8 extent the Court deems it necessary to take judicial notice of Emanuel, Defendants
  9 so request.
 10            THE COURT SHOULD TAKE JUDICIAL NOTICE OF FACTS THAT
 11                       ARE NOT SUBJECT TO REASONABLE DISPUTE
 12            Federal Rule of Evidence 201(b) provides that a fact is subject to judicial
 13 notice when it is “not subject to reasonable dispute because it: (1) is generally
 14 known within the trial court’s territorial jurisdiction; or (2) can be accurately and
 15 readily determined from sources whose accuracy cannot reasonably be questioned.”
 16 Fed. R. Evid. 201(b)(1-2). See also Heusey v. Emmerich, 2015 WL 12765115, at
 17 *4 (C.D. Cal. Apr. 9, 2015) (taking judicial notice of “occupations and lifetimes of
 18 historical characters, family trees, historical events, theories commonly-held by
 19 historians, and the political atmosphere of the Elizabethan era” because these facts
 20 could be “accurately and reasonably determined from sources whose accuracy
 21 cannot be reasonably questioned”), aff’d, 692 Fed. Appx. 928 (9th Cir. 2017);
 22 Marcus v. ABC Signature Studios, 279 F. Supp. 3d 1056, 1062-1063 (C.D. Cal.
 23 2017) (taking judicial notice of U.S. Census Bureau data regarding most popular
 24 last names).
 25            Defendants request that the Court take judicial notice that using a doll to
 26 cope with grief is a widely known therapeutic technique in real life, a fact not
 27 subject to reasonable dispute. Myriad news outlets have covered the phenomenon
 28 of using a doll to cope with grief. In particular, this widespread coverage has
                                               3                       DAVIS WRIGHT TREMAINE LLP
                                                                              865 S. FIGUEROA ST, SUITE 2400
      DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE                              LOS ANGELES, CALIFORNIA 90017-2566
                                                                                        (213) 633-6800
      4838-2091-9479v.1 0113237-000003                                                Fax: (213) 633-6899
Case 2:20-cv-00406-SSS-JC Document 30-1 Filed 03/24/20 Page 5 of 11 Page ID #:327


  1 zeroed in on the concept of “reborn dolls,” like those used in Emanuel and Servant:
  2 lifelike dolls made with “as much realism as possible,” often including real human
  3 hair and eyelashes, and even “‘wafers’ to give the doll a baby smell,” in order to
  4 give the buyer “the same experience as holding a real baby.” See Rebekah Cilia,
  5 “Lifelike baby dolls to be used therapeutically for women who have lost a baby,”
  6 Malta Independent (Sept. 23, 2018), available at
  7 https://www.independent.com.mt/articles/2018-09-23/local-news/Lifelike-baby-
  8 dolls-to-be-used-therapeutically-for-women-who-have-lost-a-baby-6736196695
  9 (“Just the rooting of the hair, one at a time, takes about 40 hours. Each hair is
 10 individually rooted and then a special glue is used on the inside of the head to keep
 11 the hair in place so that it can be washed and brushed.”) These dolls are often
 12 recommended to grieving parents who have lost a child, like Linda in Emanuel and
 13 Dorothy in Servant. See id.; Freeman Decl. Exs. 1-10; Dk. 13. See also
 14 http://rebornbabydolls.org/reborn-dolls/ (Reborn Dolls website noting that many are
 15 purchased by “parents who have lost a child or newborn”).
 16            These dolls are a widely discussed phenomenon in popular culture, and a real
 17 therapy technique to deal with a variety of mental issues, including grief, anxiety,
 18 dementia, and Alzheimer’s. For example, in 2008, the Today Show published a
 19 psychiatrist’s analysis of women nurturing “reborn” babies to cope with sadness
 20 and anxiety, noting that the dolls provide their owners with “moments of relief and
 21 reprieve, when they can escape the stark reality of their loss, and instead have those
 22 familiar feelings of coddling a baby, cooing over it, and all those other nice
 23 moments that temporarily undo the harsh reality.” See Dr. Gail Saltz, “Fake babies
 24 ease women’s anxiety, sadness,” Today (Oct. 1, 2008), available at
 25 https://www.today.com/health/fake-babies-ease-womens-anxiety-sadness-
 26 wbna26974105. And in 2014, an article titled “How ‘Reborn Dolls’ Really Can
 27 Help Us Cope With Miscarriage & Infant Loss,” featured commentary on the topic
 28 from psychologist Aline P. Zoldbrod, Ph.D., author of the book Men, Women, and
                                            4                      DAVIS WRIGHT TREMAINE LLP
                                                                           865 S. FIGUEROA ST, SUITE 2400
      DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE                           LOS ANGELES, CALIFORNIA 90017-2566
                                                                                     (213) 633-6800
      4838-2091-9479v.1 0113237-000003                                             Fax: (213) 633-6899
Case 2:20-cv-00406-SSS-JC Document 30-1 Filed 03/24/20 Page 6 of 11 Page ID #:328


  1 Infertility, and psychologist David J. Diamond, Ph.D., cofounder and co-director of
  2 the Center for Reproductive Psychology. The article stated that Dr. Zoldbrod
  3 believed that carrying around a doll “can be a powerful way to allow the brief to
  4 manifest,” and that “[b]onding with a reborn doll can also help to ease the sorrow of
  5 letting go.” See Jacqueline Burt Cote, “How ‘Reborn Dolls’ Really Can Help Us
  6 Cope With Miscarriage & Infant Loss,” Cafemom (Sept. 29, 2016), available at
  7 https://thestir.cafemom.com/pregnancy/200832/how_reborn_dolls_really_can. See
  8 also, e.g., Rita Pezzati et al., “Can Doll therapy preserve or promote attachment in
  9 people with cognitive, behavioral, and emotional problems?,” Frontiers in
 10 Psychology (Apr. 21, 2014), available at
 11 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4001059/.
 12            Dozens of documentaries and television news and talk programs also have
 13 covered the phenomenon of reborn dolls. See, e.g.,
 14 https://www.youtube.com/watch?v=HKmz002fbQY (ABC News affiliate segment
 15 titled “These hyper-realistic baby dolls are a kind of therapy for anxiety and grief”);
 16 https://www.youtube.com/watch?v=RZ5lfsoFsvQ (This Morning segment titled
 17 “My Children Are Dolls and I Take Them Everywhere,” covering “why these
 18 ‘reborn dolls’ have acted as therapy for her during the toughest period of her life”);
 19 https://www.youtube.com/watch?v=EkyUZJDGvMY (VICE documentary about
 20 reborn dolls); https://www.youtube.com/watch?v=frl-R3C9ac0 (award-winning
 21 New Yorker short documentary Dollhouse about reborn doll artist);
 22 https://www.youtube.com/watch?v=HltieVIclHY (Fox4 News Kansas City segment
 23 titled “Woman finds her ‘reborn’ doll healing”);
 24 https://www.youtube.com/watch?v=PzEqYhUZAoc (BBC Inside Out segment on
 25 reborn dolls); https://www.youtube.com/watch?v=Dt-lQepN1kA (Dr. Phil segment
 26 on reborn dolls); https://www.youtube.com/watch?v=JyYkVCJfbIA (Today Show
 27 segment on reborn dolls); https://www.youtube.com/watch?v=VuXG696Ofts (The
 28 Doctors segment on reborn dolls); https://www.youtube.com/watch?v=I0LgtBC-
                                             5                  DAVIS WRIGHT TREMAINE LLP
                                                                          865 S. FIGUEROA ST, SUITE 2400
      DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE                          LOS ANGELES, CALIFORNIA 90017-2566
                                                                                    (213) 633-6800
      4838-2091-9479v.1 0113237-000003                                            Fax: (213) 633-6899
Case 2:20-cv-00406-SSS-JC Document 30-1 Filed 03/24/20 Page 7 of 11 Page ID #:329


  1 9yc (Anderson segment on reborn dolls);
  2 https://www.youtube.com/watch?v=6iR1ngUGy44 (Australian news channel story
  3 on reborn dolls); https://www.youtube.com/watch?v=F_X-PrN8ev4 (UK news
  4 segment titled “Reborn Baby Dolls are giving this woman her life back”).
  5            Accordingly, Defendants respectfully request that this Court judicially notice
  6 the fact that using a doll to cope with grief is a widely known therapeutic technique
  7 in real life.
  8                THE COURT SHOULD TAKE JUDICIAL NOTICE OF GENERIC
  9                       ELEMENTS COMMON TO EXPRESSIVE WORKS
 10            Courts frequently take judicial notice of generic elements that are prevalent in
 11 particular genres of expressive works like movies and television shows. See Zella,
 12 529 F. Supp. 2d at 1129 (“In the context of copyright claims, the Court may take
 13 judicial notice of generic elements of creative works.”) (taking judicial notice of
 14 generic elements of talk and cooking shows, like (1) a host, (2) guest celebrities,
 15 (3) an interview, and (4) a cooking segment). In Fillmore v. Blumhouse Prods., for
 16 example, the court took judicial notice that “[t]he possibility of resurrection is a
 17 common element in religious works,” that “[b]ringing the dead back to life” is a
 18 common trope in horror, fantasy, and sci-fi books and movies, and that “[d]ream
 19 sequences are a common narrative device in works of fiction.” 2017 WL 4708018,
 20 at *3 (C.D. Cal. July 7, 2017). And in DuckHole v. NBC Universal, 2013 WL
 21 5797279, at *4 (C.D. Cal. Sep. 6, 2013), the court took judicial notice of generic
 22 elements of veterinary-themed sitcoms, like (1) settings of an operating room, exam
 23 room, and lobby, (2) pets, (3) a comedic tone, and (4) romantic relationships. See
 24 also Reflex Media v. Pilgrim Studios, 2018 WL 6566561, at *3 n.3 (C.D. Cal. Aug.
 25 27, 2018) (taking judicial notice of “generic elements common to reality dating
 26 shows,” including “(1) casting young attractive singles, (2) filming multiple-day
 27 dates in exotic locations, (3) contestants participating in bonding activities, and (4) a
 28
                                                  6                       DAVIS WRIGHT TREMAINE LLP
                                                                             865 S. FIGUEROA ST, SUITE 2400
      DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE                             LOS ANGELES, CALIFORNIA 90017-2566
                                                                                       (213) 633-6800
      4838-2091-9479v.1 0113237-000003                                               Fax: (213) 633-6899
Case 2:20-cv-00406-SSS-JC Document 30-1 Filed 03/24/20 Page 8 of 11 Page ID #:330


  1 theme and mood of fun, adventure, and anticipation for the prospect of burgeoning
  2 romantic feelings between the participants on the show”).
  3            Here, Defendants ask the Court to take judicial notice of the following
  4 elements ubiquitous to expressive works:
  5            a.        Many expressive works feature a character treating a doll as their
  6 child. Numerous films, television shows, books, comic books, video games, and
  7 other works feature the idea of a character treating a doll as their child. Indeed,
  8 more than a century ago, the children’s novel Pinocchio featured a father who
  9 creates a wooden doll that he treats as his son (and which later comes alive). See
 10 https://en.wikipedia.org/wiki/Pinocchio. This concept is so ubiquitous that it has its
 11 own entry on a website dedicated to identifying “tropes” in entertainment. See
 12 “Baby-Doll Baby,” https://tvtropes.org/pmwiki/pmwiki.php/Main/BabyDollBaby
 13 (“This trope is when a mother, in a delusion, thinks that a doll is her child.”)
 14 (compiling examples). See also “The Doll Episode,”
 15 https://tvtropes.org/pmwiki/pmwiki.php/Main/TheDollEpisode (explaining that
 16 “just about every horror, suspense and mystery series that runs for long enough will
 17 have a doll-themed episode” that is “incredibly creepy and unusually upsetting,”
 18 and often involves dolls “made to replicate/replace a lost loved one”) (compiling
 19 examples).
 20            As one example, in the 2016 film The Boy, a young American woman
 21 becomes a nanny to a wealthy couple’s young son, who the nanny soon learns is
 22 actually a doll that the couple treats as their son, after their real son’s apparent death
 23 years earlier. See “The Boy”: Plot, IMDb, available at
 24 https://www.imdb.com/title/tt3882082/plotsummary; “The Boy”: About the Film,
 25 STX Entertainment, available at http://stxmovies.com/theboy/. And in the 2014
 26 film Maria Leonora Teresa, a psychiatrist prescribes life-sized dolls to assist
 27 couples coping with losing their young children in a tragic accident. See “Maria
 28 Leonora Teresa”: Plot, IMDb, available at
                                            7                            DAVIS WRIGHT TREMAINE LLP
                                                                            865 S. FIGUEROA ST, SUITE 2400
      DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE                            LOS ANGELES, CALIFORNIA 90017-2566
                                                                                      (213) 633-6800
      4838-2091-9479v.1 0113237-000003                                              Fax: (213) 633-6899
Case 2:20-cv-00406-SSS-JC Document 30-1 Filed 03/24/20 Page 9 of 11 Page ID #:331


  1 https://www.imdb.com/title/tt3772364/plotsummary; “Maria Leonora Teresa,”
  2 Wikipedia, available at https://en.wikipedia.org/wiki/Maria_Leonora_Teresa.
  3            Other examples include:
  4        Anne of Greene Gables author L.M. Montgomery’s 1929 Magic for
  5            Marigold, which includes a passage about a relative’s life-size wax doll made
  6            to look like a relative’s three-year-old daughter who died. The relative “kept
  7            [the doll] beside her always and talked to it as if it had been alive.” See
  8            http://gutenberg.net.au/ebooks03/0300681h.html at ¶ 13 (Magic for Marigold
  9            full text).
 10        The 1987 novel Arrow’s Flight, in which the protagonist encounters a
 11            “Weatherwitch” who cares for a doll as if it were her own child, despite the
 12            fact that her child drowned years earlier (due to the witch’s inattention). See
 13            https://tinyurl.com/wxprs2s (Arrow’s Flight on Google Books).
 14        The 2006 novel The Children of Men, in which the narrator notes that years
 15            after babies have stopped being born, dolls “have become for some half-
 16            demented women a substitute for children.” See
 17            https://www.amazon.com/gp/product/0307275434/ref=ppx_yo_dt_b_asin_im
 18            age_o00_s00?ie=UTF8&psc=1 (“Look Inside” at p. 10).
 19        The 2009 BBC television series Psychoville, in which a character is
 20            convinced a doll is her real child and forces her husband to treat the doll as if
 21            it were real. See https://en.wikipedia.org/wiki/Psychoville.
 22        Episode 147 of the ABC series Desperate Housewives (2011), in which main
 23            character Gaby begins to treat a doll as if it were a real child after finding out
 24            her daughter was switched at birth with another infant. Gaby tries to save the
 25            doll during an armed carjacking, screaming, “My daughter!” See
 26            https://en.wikipedia.org/wiki/I%27m_Still_Here_(Desperate_Housewives).
 27        Video game Dead Rising 2: Off the Record (2011), featuring a character who
 28            becomes delusional after losing his daughter and carries around a life-sized
                                                  8                       DAVIS WRIGHT TREMAINE LLP
                                                                                 865 S. FIGUEROA ST, SUITE 2400
      DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE                                 LOS ANGELES, CALIFORNIA 90017-2566
                                                                                           (213) 633-6800
      4838-2091-9479v.1 0113237-000003                                                   Fax: (213) 633-6899
Case 2:20-cv-00406-SSS-JC Document 30-1 Filed 03/24/20 Page 10 of 11 Page ID #:332


   1            doll on his back, believing the doll to be his daughter and vowing to protect
   2            her. See https://deadrising.fandom.com/wiki/Katey_Greene.
   3        The 2014 film H., which features a woman caring for a reborn doll as if it
   4            were her real child. See https://itunes.apple.com/us/movie/h/id1122924169
   5            (noting that a main character “takes care of an eerily lifelike baby doll called
   6            a ‘Reborn Doll,’ which she cares for as if she is alive”).
   7        Harlan Ellison’s short story “Soft Monkey” (published in the 2016 anthology
   8            Angry Candy), in which a homeless woman treats a doll as her son, after her
   9            son froze to death. See http://harlanellison.com/review/angry.htm#soft.
  10 See also Dr. Gail Saltz, “Fake babies ease women’s anxiety, sadness,” Today (Oct.
  11 1, 2008), available at https://www.today.com/health/fake-babies-ease-womens-
  12 anxiety-sadness-wbna26974105 (“But, can an inanimate doll – one so realistic it
  13 looks alive – really replace a living being? In many ways, such a notion feels like a
  14 page from the Stepford Wives or Invasion of the Body Snatchers. It’s a disturbing
  15 thought to have something un-alive take the place of a real human – which is why
  16 such a conceit is often the basis for fantasy or horror tales.”) (emphasis added).
  17            Given the volume of works with the premise of treating a doll as a child,
  18 Defendants ask the Court to judicially notice that the concept is common in
  19 expressive works.
  20            b.        Many expressive works feature the premise of hiring a nanny or
  21 babysitter. Hundreds of expressive works, if not thousands, include the premise of
  22 hiring a nanny or babysitter. Sometimes the nannies are practically perfect (like in
  23 the 1964 classic Mary Poppins, https://www.imdb.com/title/tt0058331/).
  24 Sometimes the nannies are evil (like in the aptly titled 2016 movie Evil Nanny,
  25 https://www.imdb.com/title/tt6354166/). Sometimes the nannies are supernatural
  26 (like in the 1980 movie The Guardian, https://www.imdb.com/title/tt0099710/).
  27            Sometimes the nannies or babysitters are hired even though the child they are
  28 to watch has passed away. In the 1994 film Exotica, a man whose child died years
                                             9                     DAVIS WRIGHT TREMAINE LLP
                                                                                865 S. FIGUEROA ST, SUITE 2400
       DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE                               LOS ANGELES, CALIFORNIA 90017-2566
                                                                                          (213) 633-6800
       4838-2091-9479v.1 0113237-000003                                                 Fax: (213) 633-6899
Case 2:20-cv-00406-SSS-JC Document 30-1 Filed 03/24/20 Page 11 of 11 Page ID #:333


   1 earlier continues to hire his niece to babysit. See “Exotica (film),” Wikipedia,
   2 available at https://en.wikipedia.org/wiki/Exotica_(film). And The Boy revolves
   3 around a nanny hired to care for a wealthy couple’s doll they treat as their actual
   4 son, despite their son’s apparent death years earlier. See “The Boy”: Plot, IMDb,
   5 available at https://www.imdb.com/title/tt3882082/plotsummary; “The Boy”: About
   6 the Film, STX Entertainment, available at http://stxmovies.com/theboy/.
   7            It cannot be reasonably disputed that hiring a nanny or babysitter is a
   8 common premise of many expressive works. Accordingly, Defendants ask the
   9 Court to take judicial notice of that generic element.
  10                                                CONCLUSION
  11            For all the reasons set forth above, Defendants ask this Court to take judicial
  12 notice of the following:
  13            1.        The first season of Defendants’ series Servant (Episodes 1-10) and the
  14                      Servant trailer.
  15            2.        The fact that using a doll to cope with grief is a widely known
  16                      therapeutic technique in real life.
  17            3.        The following generic premises common to expressive works:
  18                          a. A character treating a doll as their child.
  19                          b. Hiring a nanny or a babysitter.
  20
       DATED: March 24, 2020                           DAVIS WRIGHT TREMAINE LLP
  21                                                   NICOLAS A. JAMPOL
                                                       DIANA PALACIOS
  22                                                   CYDNEY SWOFFORD FREEMAN
                                                       CAMILA PEDRAZA
  23
                                                       By:      /s/ Nicolas A. Jampol
  24                                                                   Nicolas A. Jampol
  25                                                        Attorneys for Defendants
  26
  27
  28
                                                       10                        DAVIS WRIGHT TREMAINE LLP
                                                                                    865 S. FIGUEROA ST, SUITE 2400
       DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE                                   LOS ANGELES, CALIFORNIA 90017-2566
                                                                                              (213) 633-6800
       4838-2091-9479v.1 0113237-000003                                                     Fax: (213) 633-6899
